           Case 1:18-cv-02503-PX Document 6 Filed 08/16/18 Page 1 of 3

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    Baltimore Division

                                                          )
 DARISSA MONROE,                                          )
                                                          )
                Plaintiff,                                )
                                                          )     Case No. 1:18-cv-02503
 v.                                                       )
                                                          )     Judge: Paula Xinis
 EXPERIAN INFORMATION SOLUTIONS, INC., et                 )
 al.,                                                     )
                                                          )
                Defendants.                               )
                                                          )

      STIPULATION FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

        Plaintiff Darissa Monroe and Defendant Experian Information Solutions, Inc. (the

“Parties”), by and through their respective undersigned counsel, hereby stipulate and agree that

Experian shall have an extension until September 18, 2018, to file its responsive pleading to

Plaintiff’s Complaint.
          Case 1:18-cv-02503-PX Document 6 Filed 08/16/18 Page 2 of 3

Dated: August 16, 2018                        Respectfully Submitted:


/s/ Ingmar Goldson                            /s/ Daniel D. DeVougas
Ingmar Goldson                                Daniel D. DeVougas (Md. Bar No. 19127)
The Goldson Law Office                        JONES DAY
1734 Elton Rd., Suite 210                     51 Louisiana Avenue, NW
Silver Spring, MD 20903                       Washington, DC 20001
igoldson@goldsonlawoffice.com                 Telephone: (202) 879-3783
                                              Facsimile: (202) 626-1700
Counsel for Plaintiff                         Email: ddevougas@jonesday.com

(signed by Daniel DeVougas with written       Counsel for Defendant
permission of Ingmar Goldson)                 Experian Information Solutions, Inc.




APPROVED AND ORDERED BY THE COURT:


___________________________________ on the ___ of August, 2018
Hon. Paula Xinis
United States District Judge




                                          2
           Case 1:18-cv-02503-PX Document 6 Filed 08/16/18 Page 3 of 3

                               CERTIFICATE OF SERVICE

       A copy of the foregoing was filed on this 16th day of August 2018 with the Court via the
CM/ECF system, causing it to be served on all CM/ECF users. I hereby also certify that on this
16th day of August 2018, a true and correct copy of the foregoing was also served via email to
the following:

       Ingmar Goldson
       The Goldson Law Office
       1734 Elton Rd., Suite 210
       Silver Spring, MD 20903
       igoldson@goldsonlawoffice.com
       Counsel for Plaintiff


                                            Respectfully submitted,

                                            /s/ Daniel D. DeVougas
                                            Daniel D. DeVougas (Md. Bar No. 19127)
                                            JONES DAY
                                            51 Louisiana Avenue, NW
                                            Washington, DC 20001
                                            Telephone:: (202) 879-3783
                                     `      Facsimile: (202) 626-1700
                                            Email: ddevougas@jonesday.com

                                            Counsel for Defendant
                                            Experian Information Solutions, Inc.
